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                              UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF CALIFORNIA


                                         CRIMINAL MINUTES

 Date: July 29, 2020             Time: 10:29 AM – 10:47 AM       Judge: LUCY H. KOH
                                 (18 minutes)

 Case No.: 16-cr-00519-          Case Name: UNITED STATES v. Johnny Ray Wolfenbarger (P-T)(C:N)
 LHK-1

Attorney for Plaintiff: Marissa Harris
Attorney for Defendant: Severa Keith

  Deputy Clerk: Kassandra Dibble                     Court Reporter: Irene Rodriguez
  Interpreter: None requested                        Probation Officer: N/A


                                           PROCEEDINGS

Trial Setting Hearing held. All parties, including Defendant Wolfenbarger, appeared telephonically.
Defendant was present and out of custody.

The Court SET an 8-day jury trial beginning August 6, 2021. In accordance with this Court’s trial
schedule, the trial dates are August 6, 9, 10, 13, 16, 17, 20, and 23, 2021.

Further Status Conference SET for Wednesday, November 18, 2020 at 9:15 AM.


EXCLUDABLE DELAY:
For the reasons stated on the record, time is excluded pursuant to 18 U.S.C. §3161(h)(7)(B)(iv)
Begins: July 29, 2020
Ends: August 6, 2021
